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                            UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF TEXAS
                                 HOUSTON DIVISION


UNITED STATES OF AMERICA                        '
                                                '
v.                                              '   Criminal No. 4:21-CR-66
                                                '
LADONNA WIGGINS                                 '

 MOTION TO WITHDRAW AS COUNSEL OF RECORD FOR THE UNITED STATES

       The United States, by and through undersigned counsel, respectfully request that the Court

permit, Zahra Jivani Fenelon to withdraw as counsel of record for the United States.

       Assistant United States Attorney Zahra Jivani Fenelon’s last day with the United States

Attorney’s Office, Southern District of Texas was July 14, 2023. Assistant United States Attorney

from the Southern District of Texas Rodolfo Ramirez will continue to represent the United States

in this case. Given this continued representation, the withdrawal of Zahra Jivani Fenelon will not

delay the progress of this case, otherwise interrupt the working operation of the Court, or be

manifestly unfair to either Party.

       Accordingly, the undersigned counsel respectfully requests that the Court enter an Order

withdrawing Zahra Jivani Fenelon from this case and removing her name from the Court’s

CM/ECF notifications for this action.



                                                    Respectfully submitted,

                                                    ALAMDAR S. HAMDANI
                                                    United States Attorney
                                                    Southern District of Texas

                                             By:    s/ Zahra Jivani Fenelon
                                                    Zahra Jivani Fenelon
                                                    Assistant United States Attorney
                                                    Southern District of Texas
                                                    E-mail: Zahra.Fenelon@usdoj.gov


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                               CERTIFICATE OF SERVICE

       I certify that on July 17, 2023, I electronically filed this Motion to withdraw using the

CM/ECF system, which sent notification to counsel of record.



                                            By:    s/ Zahra Jivani Fenelon
                                                   Zahra Jivani Fenelon
                                                   Assistant United States Attorney




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